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lN THE UNlTED STATES DISTRICT COURT F“EO B`" . D'C-
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 JUN -8 PH lp 15

HOBERT F~¥. !'}i THOLKO

UNITED STATES OF AMERICA, ) CLEHK' U‘S_ g{,g'r_ CT_
) W.D. OP` TN. ?-J‘»EMPHIS
Plaintiff, )
)
v. ) NO. 03-2002] Ma/An
)
ANTHONY V. BOLDEN, )
)
Defendant. )

 

ORDER GRANTING MOTION FOR CONTINUANCE

 

Before the Court is the United States’ Motion for Continuance Of June 8, 2005 Hear'ing
filed on June 6, 2005. For good cause Shown, the Motion is GRANTED. The Court Will issue a

Notice of Setting to Set a new time and place for the June 8, 2005 hearing

IT IS SO ORDERED.
/,-r-'_"-"
55 . MMJ h

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Date: QMC Oo°,, 200¢'

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 191 in
case 2:03-CR-20021 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

